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 8
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 9
     Attorneys for Plaintiffs and the Classes
10

11                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13    TAMARA MILLER, individually and
      on behalf of all others similarly
14
      situated,
15                                              Case No. 8:23-cv-00839-FWS-JDE
16
                         Plaintiff,
                                                SECOND AMENDED CLASS
17    v.                                        ACTION COMPLAINT
18
      BLOOM RETIREMENT                          JURY TRIAL DEMANDED
19    HOLDINGS, INC., f/k/a
20    AMERICAN ADVISORS GROUP, a
      California corporation,
21
                         Defendant.
22

23               SECOND AMENDED CLASS ACTION COMPLAINT
24                          AND DEMAND FOR JURY TRIAL
25

26
27

28
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 1         Plaintiff Tamara Miller (“Miller” or “Plaintiff”) brings this First Amended
 2   Class Action Complaint and Demand for Jury Trial (“Complaint”) against
 3   Defendant Bloom Retirement Holdings, Inc., f/k/a American Advisors Group
 4   (“AAG” or “Defendant”) to (1) stop its practice of placing calls using an “artificial
 5   or prerecorded voice” to the cellular telephones of consumers nationwide without
 6   their prior express written consent, including calls to those on the National Do Not
 7   Call Registry, (2) enjoin Defendant from continuing to place prerecorded telephone
 8   calls to consumers who did not provide their prior written express consent to
 9   receive them, and (3) obtain redress for all persons injured by their conduct.
10   Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to
11   herself and her own acts and experiences, and, as to all other matters, upon
12   information and belief, including investigation conducted by her attorneys.
13                              NATURE OF THE ACTION
14         1.     Defendant AAG is a California corporation that engages in the practice
15   of manufacturing and offering financing options including reverse mortgages to
16   homeowners.
17         2.     A reverse mortgage is a mortgage loan, usually secured by residential
18   property, that enables the borrower to access the unencumbered value of the
19   property.
20         3.     Unfortunately for consumers, Defendant casts its marketing net too
21   wide. That is, in an attempt to promote its business and generate leads for services,
22   Defendant conducted (and continues to conduct) a wide-scale telemarketing
23   campaign that features the repeated making of unsolicited, prerecorded phone calls
24   to consumers’ phones, in violation of the Telephone Consumer Protection Act, 47
25   U.S.C. § 227, et. seq. (the “TCPA”).
26

27
                                    CLASS ACTION COMPLAINT
28                                             -2-
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 1         4.    By making the prerecorded and DNC-violative calls at issue in this
 2   Complaint, Defendant caused Plaintiff and the other members of the Classes actual
 3   harm and cognizable legal injury. This includes: (1) the aggravation and nuisance
 4   and invasions of privacy that result from the receipt of such calls, (2) wear and tear
 5   on their telephones, (3) loss of battery life, (4) loss of value realized for the monies
 6   consumers paid to their carriers for receipt of such calls, and (5) the diminished
 7   use, enjoyment, value and utility of their telephone plans. Furthermore, Defendant
 8   made the calls knowing they interfered with Plaintiff and other Class members’ use
 9   and enjoyment of, and the ability to access their phones including the related data,
10   apps, software, and hardware components.
11         5.    The TCPA was enacted to protect consumers from prerecorded phone
12   calls like those alleged and described herein. In response to Defendant’s unlawful
13   conduct, Plaintiff brings this action seeking injunctive relief, requiring Defendant
14   to cease all prerecorded telephone calling activities to telephones without first
15   obtaining prior express consent that is required by the TCPA, as well as an award
16   of statutory damages to the members of the Class under the TCPA, together with
17   costs, pre and post-judgment interest, and reasonable attorneys’ fees.
18                                         PARTIES
19         6.    Plaintiff Tamara Miller is a natural person and resident of Tampa,
20   Florida.
21         7.    Defendant AAG is a corporation organized and existing under the laws
22   of Delaware with its headquarters located at 18200 Von Karman Ave., Suite 300,
23   Irvine, California 92612. On information and belief, AAG officers and directors
24   exert operational control over their call centers and control the business strategy
25   and daily operations of AAG, including AAG’s sales, marketing strategy, and
26   unlawful telemarketing activities.
27
                                    CLASS ACTION COMPLAINT
28                                             -3-
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 1                              JURISDICTION AND VENUE
 2         8.     The Court has subject matter jurisdiction over this action pursuant to
 3   28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection
 4   Act, 47 U.S.C. § 227, et seq., (“TCPA” or the “Act”) a federal statute. The Court
 5   also has jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332
 6   (“CAFA”). The alleged Classes consist of over 100 persons each, there is minimal
 7   diversity, and the claims of the class members when aggregated together exceeds $5
 8   million. Further, none of the exceptions to CAFA applies.
 9         9.     This Court has personal jurisdiction over AAG because, on
10   information and belief, it has solicited and entered into business contracts in this
11   District, and it is headquartered in this District.
12         10.    Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant is
13   headquartered in this District and because the wrongful conduct giving rise to this
14   case occurred in, was directed to, and/or emanated from this district.
15                        COMMON FACTUAL ALLEGATIONS
16          11.   Defendant is a company that offers financing options for homeowners,
17   including reverse mortgages.
18          12.   In recent years, AAG and other similar companies have turned to
19   unsolicited telemarketing as a way to increase their customer base. Widespread
20   telemarketing is one of the primary methods by which the Defendant recruits new
21   customers.
22          13.   As explained by the Federal Communications Commission (“FCC”) in
23   its 2012 order, the TCPA requires “prior express written consent for all autodialed
24   or prerecorded telemarketing calls to wireless numbers and residential lines.” In the
25   matter of Rules and Regulations Implementing the Telephone Consumer Protection
26   Act of 1991, CG No. 02-278, FCC 12-21, 27 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).
27
                                      CLASS ACTION COMPLAINT
28                                               -4-
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 1          14.   Yet, in violation of this rule, Defendant fails to obtain any prior
 2   express written consent to make these prerecorded telemarketing calls to residential
 3   telephone numbers. Defendant utilized prerecorded voice or voice message when
 4   making the calls.
 5          15.   Additionally, the National Do Not Call Registry allows consumers to
 6   register their telephone numbers and thereby indicate their desire not to receive
 7   telephone solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
 8          16.   A listing on the Registry “must be honored indefinitely, or until the
 9   registration is cancelled by the consumer or the telephone number is removed by the
10   database administrator.” Id.
11          17.   At all times material to this Complaint, Defendant was and is fully
12   aware that unsolicited telemarketing calls are being made to consumers’ residential
13   telephones through its own efforts and its agents. All calls were made on behalf of,
14   and for the benefit of the Defendant.
15          18.   Defendant AAG knowingly made (and continues to make) unsolicited
16   telemarking calls without the prior express written consent of all call recipients. In
17   so doing, Defendant not only invaded the personal privacy of the Plaintiff and
18   members of the putative Classes, but Defendant also intentionally and repeatedly
19   violated the TCPA.
20          19.   Defendant was, and is, aware that the prerecorded and DNC-violoative
21   calls described herein were made to consumers like Plaintiff who have not
22   consented to receive them.
23          20.   To the extent any third party made the calls, the third party acted on
24   behalf of Defendant, at Defendant’s direction and control, for Defendant’s knowing
25   benefit, and with Defendant’s approval. Defendant ratified the making of any such
26

27
                                    CLASS ACTION COMPLAINT
28                                             -5-
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 1   calls, and it further accepted the benefit of such calls by ultimately providing its
 2   products and services to customers who were contacted as a result of any such calls.
 3                          FACTS SPECIFIC TO PLAINTIFF
 4          21.   Plaintiff registered her cellphone number on the National Do Not Call
 5   Registry on April 25, 2020.
 6          22.   On June 16, 2020, Plaintiff answered a telephone call placed to
 7   Plaintiff’s cellphone (with a number ending in 5895) from (985) 228-9301, and was
 8   greeted by a pre-recorded voice. The pre-recorded voice asked how much Plaintiff
 9   paid on her mortgage and the amount remaining on the mortgage. This call was
10   placed by or on behalf of AAG, for AAG’s benefit.
11          23.   Plaintiff received four (4) additional prerecorded calls from or on
12   behalf of AAG. These calls were received on June 17, 2020, June 23, 2020, June
13   29, 2020, and July 7, 2020.
14          24.   Plaintiff also received two (2) “live” calls from AAG, from the number
15   225-224-6948, both placed on June 23, 2020. After one of these calls, Plaintiff
16   received an email from the email address
17   contactus@learn.americanadvisorsgroup.com.
18         25.    Plaintiff has never provided her prior express written consent for
19   Defendant to call her using an autodialer or a pre-recorded voice.
20          26.   By making unauthorized calls as alleged herein, Defendant has caused
21   consumers actual harm in the form of annoyance, nuisance, and invasion of privacy.
22   In addition, the calls disturbed Plaintiff’s use and enjoyment of her phone, and
23   caused wear and tear to the phone’s hardware (including the phone’s battery). In
24   the present case, a consumer could be subjected to many unsolicited calls as the
25   Defendant ignores the requirement of prior express written consent.
26

27
                                     CLASS ACTION COMPLAINT
28                                              -6-
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 1          27.   In order to redress these injuries, Plaintiff on behalf of herself and two
 2   Classes of similarly situated individuals, brings suit under the Telephone Consumer
 3   Protection Act, 47 U.S.C. § 227, et. seq.
 4          28.   On behalf of the Classes, Plaintiff seeks an injunction requiring
 5   Defendant to cease all unlawful telemarketing activities and an award of statutory
 6   damages to the class members, together with costs, pre- and post-judgment interest,
 7   and reasonable attorneys’ fees.
 8

 9                           CLASS ACTION ALLEGATIONS
10          29.   Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
11   23(b)(2) and Rule 23(b)(3) on behalf of herself and all others similarly situated and
12   seeks certification of the following Classes:
13

14         Prerecorded No Consent Class: All persons in the United States from
15         four years prior to the filing of the instant action who (1) Defendant (or
16         a third person acting on behalf of Defendant) made prerecorded calls,
17         (2) to the person’s cellular telephone or residential telephone number,
18         and (3) for whom Defendant claims it obtained prior express written
19         consent in the same manner as Defendant claims it supposedly obtained
20         prior express written consent to send prerecorded calls to the Plaintiff.
21

22
           Do Not Call Registry Class: All persons in the United States who from

23
           four years prior to the filing of this action through class certification (1)

24         Defendant (or an agent acting on behalf of the Defendant) called more

25         than one time, (2) within any 12-month period, (3) where the person’s

26         telephone number had been listed on the National Do Not Call Registry

27
                                    CLASS ACTION COMPLAINT
28                                               -7-
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 1
           for at least thirty days, (4) for substantially the same reason Defendant

 2
           called Plaintiff, and (5) for whom Defendant claims (a) it obtained prior

 3         express written consent in the same manner as Defendant claims it

 4         supposedly obtained prior express written consent to call Plaintiff, or (b)

 5         it did not obtain prior express written consent.

 6
            30.   The following individuals are excluded from the Classes: (1) any Judge
 7
     or Magistrate presiding over this action and members of their families; (2)
 8
     Defendant, its subsidiaries, parents, successors, predecessors, and any entity in
 9
     which Defendant or its parents have a controlling interest and its current or former
10
     employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who properly
11
     execute and file a timely request for exclusion from the Classes; (5) the legal
12
     representatives, successors or assigns of any such excluded persons; and (6) persons
13
     whose claims against Defendant have been fully and finally adjudicated and/or
14
     released. Plaintiff anticipates the need to amend the class definitions following
15
     appropriate discovery.
16
            31.   Numerosity: The exact size of the Classes is unknown and not
17
     available to Plaintiff at this time, but it clear that individual joinder is
18
     impracticable. On information and belief, Defendant made prerecorded calls to
19
     thousands of consumers who fall into the definition of the Classes. Members of
20
     the Classes can be easily identified through Defendant’s records.
21
            32.   Commonality and Predominance: There are many questions of law
22
     and fact common to the claims of Plaintiff and the Classes, and those questions
23
     predominate over any questions that may affect individual members of the Classes.
24
     Common questions for the Classes include, but are not necessarily limited to the
25
     following:
26

27
                                     CLASS ACTION COMPLAINT
28                                               -8-
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 1                a. Whether Defendant’s conduct constitutes a violation of the TCPA;
 2                b. Whether Defendant made calls (or had calls made on its behalf or
 3                   for its benefit) using a prerecorded voice or recorded messages;
 4                c. Whether Defendant violated the National Do Not Call Registry
 5                   rules;
 6                d. Whether members of the Classes are entitled to treble damages
 7                   based on the willfulness of Defendant’s conduct; and
 8                e. Whether Defendant obtained prior express consent to contact any
 9                   class members using a prerecorded voice.
10

11          33.   Adequate Representation: Plaintiff will fairly and adequately
12   represent and protect the interests of the Classes and has retained counsel competent
13   and experienced in class actions. Plaintiff has no interests antagonistic to those of
14   the Classes, and Defendant has no defenses unique to Plaintiff. Plaintiff and his
15   counsel are committed to vigorously prosecuting this action on behalf of the
16   members of the Classes and have the financial resources to do so. Neither Plaintiff
17   nor his counsel has any interest adverse to the Classes.
18          34.   Appropriateness: This class action is also appropriate for
19   certification because Defendant has acted or refused to act on grounds generally
20   applicable to the Classes and as a whole, thereby requiring the Court’s imposition
21   of uniform relief to ensure compatible standards of conduct toward the members of
22   the Classes and making final class-wide injunctive relief appropriate. Defendant’s
23   business practices apply to and affect the members of the Classes uniformly, and
24   Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect
25   to the Classes as a whole, not on facts or law applicable only to Plaintiff.
26   Additionally, the damages suffered by individual members of the Classes will likely
27
                                    CLASS ACTION COMPLAINT
28                                             -9-
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  1   be small relative to the burden and expense of individual prosecution of the
  2   complex litigation necessitated by Defendant’s actions. Thus, it would be virtually
  3   impossible for the members of the Classes to obtain effective relief from
  4   Defendant’s misconduct on an individual basis. A class action provides the benefits
  5   of single adjudication, economies of scale, and comprehensive supervision by a
  6   single court. Economies of time, effort, and expense will be fostered and uniformity
  7   of decisions will be ensured.
  8                            FIRST CAUSE OF ACTION
  9                        Telephone Consumer Protection Act
                               (Violation of 47 U.S.C. § 227)
 10            (On behalf of Plaintiff and the Prerecorded No Consent Class)
 11
             35.   Plaintiff repeats and realleges the above paragraphs of this Complaint
 12
      and incorporates them herein by reference.
 13
            36.    Defendant made prerecorded calls to residential telephone numbers
 14
      belonging to Plaintiff and other members of the Prerecorded No Consent Class
 15
      without first obtaining prior express written consent to receive such calls.
 16
            37.    Defendant made the prerecorded calls using equipment that had the
 17
      capacity to store or produce telephone numbers using a random or sequential
 18
      number generator, to receive and store lists of phone numbers, and to dial such
 19
      numbers, en masse, without human intervention. The telephone dialing equipment
 20
      utilized by Defendant, also known as a predictive dialer, dialed numbers from a list,
 21
      or dialed numbers from a database of telephone numbers, in an automatic and
 22
      systematic manner. Defendant’s autodialer disseminated information en masse to
 23
      Plaintiff and other consumers.
 24
             38.   By making the prerecorded calls to Plaintiff and the residential
 25
      telephones of members of the Prerecorded No Consent Class without their prior
 26

 27
                                       CLASS ACTION COMPLAINT
 28                                             -10-
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  1   express written consent, and by utilizing an automatic telephone dialing system to
  2   make those calls, Defendants violated 47 U.S.C. § 227(b)(1)(A)(iii).
  3         39.       The calls were for telemarketing purposes and announced the
  4   commercial availability of Defendant’s mortgage finance products and services.
  5         40.       Neither Plaintiff nor any other member of the proposed Class had any
  6   established business relationship with either Defendant.
  7   Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of
  8   Defendant’s conduct, Plaintiff and the other members of the Prerecorded No
  9   Consent Class are each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of
 10   $500.00 in damages for each violation of such act. In the event that the Court
 11   determines that Defendant’s conduct was willful and knowing, it may, under 47
 12   U.S.C. § 227(b)(3)(C), treble the amount of statutory damages recoverable by
 13   Plaintiff and the other members of the Prerecorded No Consent Class.
 14                            SECOND CAUSE OF ACTION
 15                         Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
 16               (On behalf of Plaintiff and the Do Not Call Registry Class)
 17
            41.       Plaintiff incorporates the foregoing factual allegations as if fully set
 18
      forth herein.
 19
            42.       The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
 20
      provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]
 21
      residential telephone subscriber who has registered his or her telephone number on
 22
      the national do-not-call registry of persons who do not wish to receive telephone
 23
      solicitations that is maintained by the federal government.”
 24
            43.       Any “person who has received more than one telephone call within any
 25
      12-month period by or on behalf of the same entity in violation of the regulations
 26

 27
                                        CLASS ACTION COMPLAINT
 28                                                -11-
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  1   prescribed under this subsection may” may bring a private action based on a
  2   violation of said regulations, which were promulgated to protect telephone
  3   subscribers’ privacy rights to avoid receiving telephone solicitations to which they
  4   object. 47 U.S.C. § 227(c).
  5         44.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to
  6   be initiated, telephone solicitations to telephone subscribers such as Plaintiff and the
  7   Do Not Call Registry Class members who registered their respective telephone
  8   numbers on the National Do Not Call Registry, a listing of persons who do not wish
  9   to receive telephone solicitations that is maintained by the federal government.
 10         45.    Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do
 11   Not Call Registry Class received more than one telephone call in a 12-month period
 12   made by or on behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as
 13   described above.
 14         46.    As a result of Defendant’s conduct as alleged herein, Plaintiff and the
 15   Do Not Call Registry Class suffered actual damages and, under section 47 U.S.C. §
 16   227(c), are entitled, inter alia, to receive up to $500 in damages for such violations
 17   of 47 C.F.R. § 64.1200.
 18         47.    To the extent Defendant’s misconduct is determined to be willful and
 19   knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of
 20   statutory damages recoverable by the members of the Do Not Call Registry Class.
 21

 22                                 PRAYER FOR RELIEF
 23         WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays
 24   for the following relief:
 25          1.    An order certifying the Classes as defined above, appointing Plaintiff
 26   as the representative of the Classes, and appointing her counsel as Class Counsel;
 27
                                     CLASS ACTION COMPLAINT
 28                                             -12-
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  1          2.    An award of actual monetary loss from such violations or the sum of
  2   five hundred dollars ($500.00) for each violation, whichever is greater all to be paid
  3   into a common fund for the benefit of the Plaintiff and Class Members;
  4          3.    Treble damages in case willful or knowing violations are proven
  5          4.    An order declaring that Defendant’s actions, as set out above, violate
  6   the TCPA,
  7          5.    An injunction requiring Defendant to cease all unsolicited prerecorded
  8   calling and autodialing activities, and otherwise protecting the interests of the
  9   Classes;
 10          6.    An award of reasonable attorneys’ fees and costs to be paid out of the
 11   common fund prayed for above;
 12          7.    An award of pre- and post-judgment interest; and
 13          8.    Such other further relief that the Court deems reasonable and just.
 14

 15                                     JURY DEMAND
 16         Plaintiff requests a trial by jury of all claims that can be tried.
 17

 18
      Dated: September 11, 2023                TAMARA MILLER, individually and on
 19                                            behalf of all others similarly situated,
 20                                            By: /s/ Patrick H. Peluso
 21                                            One of Plaintiff’s Attorneys
 22                                            Aaron D. Aftergood (239853)
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  3

  4                                        Counsel for Plaintiff and the Putative Class
  5
                                           *pro hac vice

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16                          CERTIFICATE OF SERVICE
 17

 18   The undersigned counsel for Plaintiff certifies that the foregoing document was
 19   served on all Parties and their counsel of record through the Court’s CM/ECF filing
 20   system on September 11, 2023.
 21

 22                                      By: /s/ Patrick H. Peluso
                                            Patrick H. Peluso
 23

 24

 25
 26

 27
                                   CLASS ACTION COMPLAINT
 28                                          -14-
